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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


ROBIN KNIGHT, ON BEHALF                CASE NO.:
OF HERSELF AND THOSE
SIMILARLY SITUATED,
          SITUATED,

                 Plaintiff,
                 Plaintiff,

vs.

STRADMONT OAK
INVESTMENTS, LLC, A
GEORGIA LIMITED LIABILITY
                  LIABILITY
COMPANY, INFINITE DINING
GROUP, INC., A GEORGIA
               GEORGIA
CORPORATION, JLK II, INC., A
GEORGIA CORPORATION,
AND JAMES LIAKAKOS,
INDIVIDUALLY,
INDIVIDUALLY,

             Defendant.
             Defendant.
____________________________/

                 COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, ROBIN KNIGHT, on behalf of herself and those similarly

situated, sues the Defendants, STRADMONT OAK INVESTMENTS, LLC, a

Georgia Limited Liability Company, INFINITE DINING GROUP, INC., a

Georgia Corporation, JLK, II, INC., a Georgia Corporation, and JAMES

LIAKAKOS, Individually, and alleges:

      1.      Plaintiff was an employee of Defendants and brings this action for
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unpaid overtime compensation, declaratory relief, and other relief under the

Fair Labor Standards Act, as amended, 29 U.S.C. § 216(b) (“FLSA”).

                            GENERAL ALLEGATIONS

      2.      Plaintiff has worked for Defendants as a server and bartender for

Defendants since October 2016.

      3.      Plaintiff works for Defendants at their Sage Woodfire Tavern

restaurant located in Alpharetta, Georgia.

      4.      At all times, Plaintiff has been paid the “tipped minimum wage”

wherein she is paid an hourly rate plus earns tips.

      5.      Plaintiff works for Defendants in Fulton County, Georgia, and is

within the jurisdiction of this Court.

      6.      Defendants,    STRADMONT         OAK    INVESTMENTS,        LLC,

INFINITE DINING GROUP, INC., and JLK, II, INC., are Georgia corporate

entities which operate and conduct business in Fulton County, Georgia and are

therefore within the jurisdiction of this Court.

      7.      Defendants,    STRADMONT         OAK    INVESTMENTS,        LLC,

INFINITE DINING GROUP, INC., and JLK, II, INC., operate the Sage

Woodfire Tavern and utilize different entities for payroll purposes but all for

the single purpose of operating the restaurant.

      8.      At all times relevant to this action, JAMES LIAKAKOS was an
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individual resident of the State of Georgia, who owned and operated

STRADMONT OAK INVESTMENTS, LLC, INFINITE DINING GROUP,

INC., and JLK, II, INC., and who regularly exercised the authority to: (a) hire

and fire employees; (b) determine the work schedules for the employees; and (c)

control the finances and operations of STRADMONT OAK INVESTMENTS,

LLC, INFINITE DINING GROUP, INC., and JLK, II, INC. By virtue of having

regularly exercised that authority on behalf of STRADMONT OAK

INVESTMENTS, LLC, INFINITE DINING GROUP, INC., and JLK, II, INC.,

JAMES LIAKAKOS is an employer as defined by 29 U.S.C. § 201, et seq.

      9.      This action is brought under the FLSA to recover from Defendants

overtime compensation, minimum wages, liquidated damages, and reasonable

attorneys’ fees and costs.

      10.     This action is intended to include each and every bartender or

server who has worked for Defendants within the last three (3) years.

      11.     This Court has jurisdiction over Plaintiff’s claims pursuant to 28

U.S.C. §1331 and the FLSA and the authority to grant declaratory relief under

the FLSA pursuant to 28 U.S.C. §2201 et seq.

      12.     During Plaintiff’s employment with Defendants, Defendants,

STRADMONT OAK INVESTMENTS, LLC, INFINITE DINING GROUP,

INC., and JLK, II, INC., earned more than $500,000.00 per year in gross sales.
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      13.   During Plaintiff’s employment with Defendants, Defendants,

STRADMONT OAK INVESTMENTS, LLC, INFINITE DINING GROUP,

INC., and JLK, II, INC., employed two or more employees which handled

goods, materials and supplies which had travelled in interstate commerce.

      14.   Included in such goods, materials and supplies were food and

drink, restaurant equipment, silverware, plates, glasses, tables, office

equipment and furniture, as well as numerous other goods, materials and

supplies which had been carried in interstate commerce.

      15.   Therefore, Defendants, STRADMONT OAK INVESTMENTS,

LLC, INFINITE DINING GROUP, INC., and JLK, II, INC., are an enterprise

covered by the FLSA, and as defined by 29 U.S.C. §203(r) and 203(s).

                               FLSA Violations

      16.   At all times relevant to this action, Defendants failed to comply

with the FLSA by cutting time from Plaintiff’s and other similarly situated

employees’ pay and failing to pay them for all hours worked.

      17.   During her employment with Defendants, Plaintiff and the other

similarly situated employees would clock in and out on a timekeeping system.

      18.   At the end of her shift, Plaintiff could print her time slip showing

the hours she worked.

      19.   However, subsequently, Defendants would alter Plaintiff’s and
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other employees’ time records and reduced the hours they were clocked in so

Defendants would pay them less.

      20.    Other similarly situated servers and bartenders suffered from this

same practice and as a result were not paid for all hours worked, including not

being paid for all overtime hours worked.

            COUNT I - RECOVERY OF OVERTIME COMPENSATION

      21.    Plaintiff reincorporates and readopts all allegations contained

within Paragraphs 1-20 above.

      22.    Plaintiff was entitled to be paid overtime compensation for her

overtime hours worked.

      23.    During her employment with Defendants, Plaintiff and other

similarly situated employees had their recorded time cut by Defendants,

causing Plaintiff and these similarly situated employees to not be paid time

and one-half of their hourly rates for all overtime hours worked.

      24.    Defendants did not have a good faith basis for their decision to

arbitrarily reduce Plaintiff’s and other employees’ time records.

      25.    As a result of Defendants’ intentional, willful and unlawful acts in

refusing to pay Plaintiff and other employees complete overtime compensation,

Plaintiff and these employees have suffered damages plus incurring reasonable

attorneys’ fees and costs.
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      26.   As a result of Defendants’ willful violation of the FLSA, Plaintiff

and the other employees are entitled to liquidated damages.

      27.   Plaintiff demands a trial by jury.

      WHEREFORE, Plaintiff, ROBIN KNIGHT, on behalf of herself and those

similarly situated, demands judgment against Defendants for unpaid overtime

compensation, liquidated damages, reasonable attorneys’ fees and costs

incurred in this action, declaratory relief, and any and all further relief that

this Court determines to be just and appropriate.

      COUNT I - RECOVERY OF MINIMUM WAGE COMPENSATION

      28.   Plaintiff reincorporates and readopts all allegations contained

within Paragraphs 1-20 above.

      29.   Plaintiff was entitled to be paid the appropriate minimum wage for

each hour worked.

      30.   During her employment with Defendants, Plaintiff and other

similarly situated employees had their recorded time cut by Defendants,

causing Plaintiff and these similarly situated employees to not be paid the

appropriate minimum wage for each hour worked in each week.

      31.   Defendants did not have a good faith basis for their decision to

arbitrarily reduce Plaintiff’s and other employees’ time records.

      32.   As a result of Defendants’ intentional, willful and unlawful acts in
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refusing to pay Plaintiff and other employees minimum wage compensation for

each hour worked, Plaintiff and these employees have suffered damages plus

incurring reasonable attorneys’ fees and costs.

      33.   As a result of Defendants’ willful violation of the FLSA, Plaintiff

and the other employees are entitled to liquidated damages.

      34.   Plaintiff demands a trial by jury.

      WHEREFORE, Plaintiff, ROBIN KNIGHT, on behalf of herself and those

similarly situated, demands judgment against Defendants for unpaid minimum

wage compensation, liquidated damages, reasonable attorneys’ fees and costs

incurred in this action, declaratory relief, and any and all further relief that

this Court determines to be just and appropriate.

      Dated this 29th day of June, 2017.

                               /s/ C. Ryan Morgan____
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